756 F.2d 747
    55 A.F.T.R.2d 85-1146, 85-1 USTC  P 9370
    Jack O. DUNCAN and Margary J. Duncan, Petitioners-Appellants,v.COMMISSIONER OF INTERNAL REVENUE, Respondent-Appellee.
    No. 84-7424.
    Tax Ct. No. 548-82.
    United States Court of Appeals,Ninth Circuit.
    Submitted Feb. 1, 1985.*Decided March 28, 1985.
    
      Jack O. Duncan, pro se.
      Glenn L. Archer, Jr., Dept. of Justice, Washington, D.C., for respondent-appellee.
      Appeal from an Order of the United States Tax Court.
      Before GOODWIN, NELSON and HALL, Circuit Judges.
      PER CURIAM.
    
    
      1
      Jack Duncan appeals the tax court's judgment that he owes additional federal income taxes for 1980 and penalties for negligence or intentional disregard of rules and regulations.  We affirm.
    
    
      2
      Duncan's assignment of his income to Professional and Technical Services did not deflect his tax liability.   See Johnson v. United States, 698 F.2d 372 (9th Cir.1982).  Imposition of a five percent penalty under I.R.C. Sec. 6653(a) for negligence or intentional disregard of rules and regulations is appropriate in this case.   Vnuk v. Commissioner, 621 F.2d 1318, 1321 (8th Cir.1980).  Imposition of sanctions for filing a frivolous appeal is also appropriate.  Fed.R.App.P. 38;  28 U.S.C. Sec. 1912;  DeWitt v. Western Pacific R.R., 719 F.2d 1448, 1451 (9th Cir.1983).  We assess double costs and $1,000 as an economic sanction for abusive and vexatious multiplication of proceedings in this case.
    
    
      3
      Affirmed.
    
    
      
        *
         The panel finds this case appropriate for submission without oral argument pursuant to Fed.R.App.P. 34(a) and Ninth Circuit Rule 3(f)
      
    
    